                EXHIBIT B




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             SSG SHANE PAGE, ET AL. vs CORVIAS GROUP, LLC, ET AL.
                          Heath Burleson on 06/28/2022                         ·

 ·1· · · · · · IN THE UNITED STATES DISTRICT COURT
 · · · · · ·FOR THE EASTERN DISTRICT OF NORTH CAROLINA
 ·2· · · · · · · · ·Civil No. 5:20-cv-00336-D

 ·3

 ·4·   ·SSG SHANE PAGE, et al.,· · · )
 · ·   · · · · · · · · · · · · · · · )
 ·5·   · · · · · ·Plaintiffs,· · · · )
 · ·   · · · · · · · · · · · · · · · )
 ·6·   ·vs.· · · · · · · · · · · · · )
 · ·   · · · · · · · · · · · · · · · )
 ·7·   ·CORVIAS GROUP, LLC, et al.,· )
 · ·   · · · · · · · · · · · · · · · )
 ·8·   · · · · · ·Defendants.· · · · )
 · ·   ·_____________________________)
 ·9

 10

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 12· · · · · · VIDEOCONFERENCE VIA ZOOM DEPOSITION

 13· · · · · · · · · · · · · · ·OF

 14· · · · · · · · · · · ·HEATH BURLESON

 15· · · · · · · · · · · ·June 28, 2022

 16· · · · · · · · · · · · ·12:02 p.m.

 17· · · · · · · · · · · Dothan, Alabama

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 25· ·Reported by:· Elizabeth Ellsworth, RPR


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· ·   · ·     · PENRY RIEMANN PLLC                                ·3
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· ·   ·   ·   ·   843-842-5297                                    13
13·   ·   ·   ·   rob@bauermetro.com
14·   ·   ·   ·   John Hughes, Esquire                            14
· ·   ·   ·   ·   Richard Sieg, Esquire                           15
15·   ·   ·   ·   Jolie Savage, Esquire
                                                                  16
· ·   ·   ·   ·   WALLACE & GRAHAM, P.A.
16·   ·   ·   ·   525 North Main Street                           17
· ·   ·   ·   ·   Salisbury, North Carolina 28144                 18
17·   ·   ·   ·   704-633-5244
· ·   ·   ·   ·   jhughes@wallacegraham.com                       19
18·   ·   ·   ·   rsieg@wallacegraham.com                         20
· ·   ·   ·   ·   jsavage@wallacegraham.com
19                                                                21
20                                                                22
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·1·   · ·     · · · · · · APPEARANCES (CONTINUED)                 ·1·   · · · · · · · · ·PROCEEDINGS
·2·   ·ON     BEHALF OF DEFENDANTS AND HEATH BURLESON:
                                                                  ·2·   ·········*****
·3·   · ·     · Thomas J. Yoo, Esquire
· ·   · ·     · HOLLAND & KNIGHT LLP                              ·3·   · · · THE COURT REPORTER:· Participating attorneys
·4·   · ·     · 400 South Hope Street                             ·4·   ·recognize that all parties, including the witness
· ·   · ·     · 8th Floor                                         ·5·   ·and court reporter, are participating remotely.
·5·   · ·     · Los Angeles, California
                                                                  ·6·   · · · In lieu of an oath administered in person,
· ·   · ·     · 213-896-2400
·6·   · ·     · thomas.yoo@hklaw.com                              ·7·   ·the witness will verbally declare that their
·7                                                                ·8·   ·testimony in this deposition is under penalty of
· ·   ·   ·   ·   Jessica L. Farmer, Esquire
                                                                  ·9·   ·perjury and will be the truth, the whole truth,
·8·   ·   ·   ·   HOLLAND & KNIGHT LLP
· ·   ·   ·   ·   800 17th Street N.W.                            10·   ·and nothing but the truth.
·9·   ·   ·   ·   Suite 1100                                      11·   · · · Counsel stipulates that all objections to
· ·   ·   ·   ·   Washington, D.C. 20006                          12·   ·the remote participation are waived.
10·   ·   ·   ·   202-955-3000
                                                                  13·   · · · Please indicate your agreement by stating
· ·   ·   ·   ·   jessica.farmer@hklaw.com
11                                                                14·   ·your name and who you represent on the record,
12·   ·ALSO APPEARING:                                            15·   ·beginning with Mr. Penry.
13·   · · · Lacey James, videoconference technician               16·   · · · MR. PENRY:· My name is Andy Penry.· I work
14
15·   · · · · · ·VIDEOCONFERENCE DEPOSITION OF HEATH
                                                                  17·   ·with Penry Riemann PLLC.· With me is Eric Rainey,
16·   ·BURLESON, a witness called on behalf of Plaintiffs,        18·   ·who works with our firm.· We are in Wilmington,
17·   ·taken remotely before Elizabeth Ellsworth, Registered      19·   ·North Carolina today.
18·   ·Professional Reporter and Notary Public, in and for
                                                                  20·   · · · THE COURT REPORTER:· Mr. Metro?
19·   ·the State of North Carolina, on Tuesday, June 28,
20·   ·2022, commencing at 12:02 p.m.                             21·   · · · MR. METRO:· Sure.· My name is Rob Metro. I
21                                                                22·   ·work with Bauer & Metro in Hilton Head, South
22                                                                23·   ·Carolina, and we consent or waive any objection.
23
                                                                  24·   · · · THE COURT REPORTER:· Mr. Yoo?
24
25                                                                25·   · · · MR. YOO:· Thank you.· Thomas Yoo and Jessica


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                                                       Page 6                                                          Page 8
·1·   · · · Farmer from Holland & Knight representing the       ·1·   · · · A.· ·Last July, August, September, I believe.
·2·   · · · defendants and the witness today, Mr. Burleson.     ·2·   ·Somewhere in that time frame.· I don't recall
·3·   · · · · · ·THE COURT REPORTER:· Is that everyone who is   ·3·   ·exactly.
·4·   · · · ·participating today?                               ·4·   · · · Q.· ·2021?
·5·   · · · · · ·MR. HUGHES:· John Hughes is here just          ·5·   · · · A.· ·2021, yes.
·6·   · · · attending to listen.· I will be on mute.· I am      ·6·   · · · Q.· ·All right.· Other than that, have you ever
·7·   · · · attorney for the plaintiffs.                        ·7·   ·had your deposition taken before?
·8·   · · · · · ·THE COURT REPORTER:· Mr. Burleson, do you      ·8·   · · · A.· ·No.
·9·   · · · verbally declare that your testimony in this        ·9·   · · · Q.· ·Have you ever -- have you ever testified
10·   · · · deposition will be under penalty of perjury and     10·   ·under oath in a -- in a lawsuit or an arbitration?
11·   · · · will be the truth, the whole truth, and nothing     11·   · · · A.· ·No.
12·   · · · but the truth?                                      12·   · · · Q.· ·Now, you have testified under oath before
13·   · · · · · ·THE WITNESS:· Yes.                             13·   ·Congress, correct?
14·   · · · · · ·THE COURT REPORTER:· Thank you.                14·   · · · A.· ·No.
15·   · · · · · ·We may begin, Counsel.                         15·   · · · Q.· ·You have testified before Congress, right?
16·   · · · · · ·MR. PENRY:· Thank you.                         16·   · · · A.· ·Yes.
17·   · · · · · · · · · · · ·* * * * *                          17·   · · · Q.· ·You weren't under oath?
18·   · · · · · · · · · · HEATH BURLESON,                       18·   · · · A.· ·No.
19·   · · declared to tell the truth, the whole truth and       19·   · · · Q.· ·Okay.· On how many occasions have you
20·   ·nothing but the truth under penalty of perjury and was   20·   ·testified in Congress?
21·   · · · · · · · · · examined as follows:                    21·   · · · A.· ·Once.
22·   · · · · · · · · · · · EXAMINATION                         22·   · · · Q.· ·And that was in, I believe, March of 2020,
23·   ·BY MR. PENRY:                                            23·   ·correct?
24·   · · · Q.· ·Mr. Burleson, we met just a few minutes ago.   24·   · · · A.· ·March of 2020, correct.
25·   ·I'm Andy Penry.· I'm a lawyer in North Carolina.· With   25·   · · · Q.· ·All right.· Are you -- and I believe you

                                                       Page 7                                                          Page 9
·1·   ·me is Eric Rainey, who works with my firm.· We are       ·1·   ·are, but I want to make sure, are you here represented
·2·   ·located in Wilmington, North Carolina today, and we      ·2·   ·by counsel?
·3·   ·are taking your deposition.                              ·3·   · · · A.· ·Yes.
·4·   · · · · · ·We may get up and get down.· I'm sure you      ·4·   · · · Q.· ·So Mr. Yoo and Ms. Farmer are your lawyers
·5·   ·will too.· If you need a break, please feel free to      ·5·   ·for the purposes of this deposition, correct?
·6·   ·say so.· You can take a break anytime, unless there is   ·6·   · · · A.· ·That is correct.
·7·   ·a question pending, at which point you need to answer    ·7·   · · · Q.· ·By whom are you employed now?
·8·   ·the question and then take a break, okay?                ·8·   · · · A.· ·I am employed by Mayroad.
·9·   · · · · · ·And we have -- as you probably know, we are    ·9·   · · · Q.· ·And you started that work in December of
10·   ·going to start now and will finish no later than 5:30,   10·   ·'21, according to your LinkedIn, didn't you?
11·   ·so you have notice as to when we are going to do         11·   · · · A.· ·That is correct.
12·   ·this.                                                    12·   · · · Q.· ·So we are going to look at your CV.
13·   · · · · · ·Have you ever given a deposition before?       13·   · · · · · ·MR. PENRY:· Mr. Rainey, if you can put this
14·   · · · A.· ·Yes.                                           14·   · · · in.
15·   · · · Q.· ·On how many occasions?                         15·   · · · · · ·We are giving you and the court reporter and
16·   · · · A.· ·Once.                                          16·   · · · everybody else a copy of the bio that was
17·   · · · Q.· ·What was -- what kind of case was that?        17·   · · · prepared when you were at Corvias, okay?· Tell me
18·   · · · A.· ·That was the Addi case at Fort Meade.          18·   · · · when you have it and can read along with me.
19·   · · · Q.· ·All right.· And was that deposition            19·   · · · · · ·This will be Exhibit 1, Madam Reporter.
20·   ·transcribed, to your knowledge?                          20·   · · · · · ·(Exhibit 1 marked for identification.)
21·   · · · A.· ·Yes.                                           21·   · · · · · ·MR. YOO:· Can you show it on the screen?
22·   · · · Q.· ·Do you still have a copy of that deposition?   22·   · · · · · ·MR. PENRY:· I don't think we can show it on
23·   · · · A.· ·I don't believe so.                            23·   · · · the screen, no.
24·   · · · Q.· ·All right.· When did you have -- when did      24·   · · · · · ·We can?· Okay.· We are going to try to.
25·   ·you have your deposition taken in the Addi case?         25·   · · · · · ·MR. YOO:· Thank you.


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·1·   · · · Q.· ·All right.· Do you know why they were not      ·1·   · · · A.· ·No.· I reported directly to Michael.
·2·   ·paid out?                                                ·2·   · · · Q.· ·Okay.· Let's look at the fourth line,
·3·   · · · A.· ·I don't recall.                                ·3·   ·"Serving as an owners representative, he provides
·4·   · · · Q.· ·Were the incentives based upon your            ·4·   ·solutions and decision-making support for military
·5·   ·performance?                                             ·5·   ·leaders, works very closely with legal counsel."
·6·   · · · A.· ·Yes.· They were based upon my performance as   ·6·   · · · · · ·Don't tell me what you said with legal
·7·   ·well as -- yeah, based upon my performance.· Yes.        ·7·   ·counsel, but tell me which legal counsel you believe
·8·   · · · Q.· ·Does Corvias, any of its entities with which   ·8·   ·is stated in this bio -- is identified in this bio.
·9·   ·you were engaged, does it have written standards for     ·9·   · · · A.· ·So it wouldn't be any one individual.· It
10·   ·making the incentive or bonus payments?                  10·   ·would be a multitude of firms that we worked -- or
11·   · · · A.· ·So each, as I recall -- well, for me, there    11·   ·that I, rather, worked closely with during that time.
12·   ·were goals that were set up on an annual basis, and      12·   · · · Q.· ·Did you have an in-house lawyer?
13·   ·the achieving of those goals was the basis for the       13·   · · · A.· ·Corvias had an in-house lawyer, yes.
14·   ·metrics for any potential payout.                        14·   · · · Q.· ·Who was that?
15·   · · · Q.· ·And was that stated in writing somewhere?      15·   · · · A.· ·His name is Bill Culton.
16·   · · · A.· ·It was.· But as I mentioned a second ago,      16·   · · · Q.· ·Spell his last name.
17·   ·it's been many years since those actual metrics were     17·   · · · A.· ·C-U-L-T-O-N.
18·   ·in writing and it then became more of an arbitrary       18·   · · · Q.· ·Is he still with Corvias, to your knowledge?
19·   ·payout.                                                  19·   · · · A.· ·To my knowledge, yes.
20·   · · · Q.· ·Who decided to make you -- to make those       20·   · · · Q.· ·And did you work very closely with him?
21·   ·incentive payments to you?                               21·   · · · A.· ·Bill and I communicated often.
22·   · · · A.· ·I reported to Michael De La Rosa.              22·   · · · Q.· ·All right.· And which outside firms did you
23·   · · · Q.· ·And what was Mr. De La Rosa's job?             23·   ·communicate with?
24·   · · · A.· ·He was president and COO as I last recall.     24·   · · · · · ·MR. YOO:· Objection.· Overly broad.
25·   · · · Q.· ·And does he still work for Corvias?            25·   ·BY MR. PENRY:

                                                      Page 15                                                         Page 17
·1·   · · · A.· ·No.                                            ·1·   · · · Q.· ·Go ahead.· You can answer.
·2·   · · · Q.· ·Where does he work now?                        ·2·   · · · A.· ·We worked with Goulston & Storrs.· I worked
·3·   · · · A.· ·I do not know.                                 ·3·   ·with Holland & Knight.· I worked with a small firm
·4·   · · · Q.· ·For how long was he -- what years was he       ·4·   ·called Petty and Livingston.· Those are the three that
·5·   ·your direct supervisor?                                  ·5·   ·were probably more frequent.
·6·   · · · A.· ·Roughly 2006 -- yeah, 2006 until 2021.         ·6·   · · · Q.· ·Let's look one line up where your bio says
·7·   · · · Q.· ·Until you left?                                ·7·   ·that you managed relationships along an expansive U.S.
·8·   · · · A.· ·Correct.                                       ·8·   ·military portfolio that includes seven U.S. Army
·9·   · · · Q.· ·All right.· Were you ever a direct -- did      ·9·   ·partnerships and six U.S. Air Force partnerships.
10·   ·you ever directly report to John Picerne?                10·   · · · · · ·Do you see that?
11·   · · · · · ·MR. YOO:· Objection.· Vague and ambiguous.     11·   · · · A.· ·I see that.
12·   · · · · · ·MR. PENRY:· Go ahead.· You can answer it.      12·   · · · Q.· ·Can you name the seven U.S. Army
13·   · · · A.· ·In what capacity do you mean?· What are you    13·   ·partnerships?
14·   ·referring to?                                            14·   · · · A.· ·I can.
15·   ·BY MR. PENRY:                                            15·   · · · Q.· ·What are they?· Or what were they?
16·   · · · Q.· ·Was he ever your direct supervisor?            16·   · · · A.· ·Fort Meade, Fort Bragg, Fort Polk, Fort
17·   · · · A.· ·No, not that I recall.· No.                    17·   ·Rucker, Fort Riley, Fort Sill, and Aberdeen Proving
18·   · · · Q.· ·All right.· So I'm looking at your bio and     18·   ·Ground.
19·   ·it says that you -- on the second line, that you         19·   · · · Q.· ·To your knowledge, are all of those Army
20·   ·reported directly to ownership.· Do you see that?        20·   ·facilities still being -- still working with Corvias
21·   · · · A.· ·Thank you.· I see it, yes.                     21·   ·with regard to military housing?
22·   · · · Q.· ·Okay.· What ownership did you directly         22·   · · · A.· ·To my knowledge, yes.
23·   ·report?                                                  23·   · · · Q.· ·What are the six Air Force partnerships?
24·   · · · A.· ·That is in reference to Michael De La Rosa.    24·   · · · A.· ·Eielson Air Force Base, Edwards Air Force
25·   · · · Q.· ·Nobody else?                                   25·   ·Base, Eglin Air Force Base, Hurlburt Field, McConnell


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·1·   ·listed out a moment ago.                                 ·1·   ·business versus the way Harrison Street manages its
·2·   · · · Q.· ·Do you know why Corvias was interested in      ·2·   ·business is really two separate things.
·3·   ·divesting itself of those -- of the Air Force            ·3·   · · · Q.· ·With regard to your work at Mayroad, are you
·4·   ·Continental Group installations?                         ·4·   ·an owner of that business or are you just an employee?
·5·   · · · A.· ·I do not know.                                 ·5·   · · · A.· ·I am just an employee.
·6·   · · · Q.· ·In terms of the transaction for when           ·6·   · · · Q.· ·You have no ownership interest, right?
·7·   ·Harrison Street purchased those entities, who did you    ·7·   · · · A.· ·I have no ownership interest.
·8·   ·represent in that transaction, Corvias or Harrison       ·8·   · · · Q.· ·Okay.· Let's look at down here Select
·9·   ·Street?                                                  ·9·   ·Experience and Accomplishments.· The third bullet,
10·   · · · A.· ·I was a Corvias employee.                      10·   ·"Engages with senior representatives from the
11·   · · · Q.· ·Okay.· So you were on the Corvias side of      11·   ·U.S. Army," right?
12·   ·that transaction, correct?                               12·   · · · A.· ·I see that.
13·   · · · A.· ·That is correct.                               13·   · · · Q.· ·Which senior representatives from the
14·   · · · Q.· ·And after that correction -- that              14·   ·U.S. Army did you engage with particularly at Fort
15·   ·transaction was closed, you moved over to Mayroad,       15·   ·Bragg?
16·   ·correct?                                                 16·   · · · A.· ·At Fort Bragg, with regard to Fort Bragg, or
17·   · · · A.· ·Correct.                                       17·   ·with the overall portfolio?· It's kind of three
18·   · · · Q.· ·Who represented -- who did you negotiate       18·   ·separate questions.
19·   ·with on the Harrison Street side?                        19·   · · · Q.· ·Well, answer Fort Bragg first, please.
20·   · · · A.· ·I was not involved in the negotiations. I      20·   · · · A.· ·As it relates to Bragg Communities, which
21·   ·was more of sharing due diligence and providing          21·   ·is, in essence, the partnership with the United States
22·   ·updates on the Air Force Continental Group.· So I        22·   ·Army, I would have engagements with senior mission
23·   ·wasn't involved in the negotiation.                      23·   ·commander, various colonels.· I would also have
24·   · · · Q.· ·Okay.· Well, let's go back to the 2013         24·   ·conversations and engagements with various
25·   ·transaction.· You are obviously working for Corvias at   25·   ·representatives both in the military as well as DOD

                                                      Page 27                                                         Page 29
·1·   ·that time, correct?                                      ·1·   ·civilians at the Pentagon level.
·2·   · · · A.· ·When the Air Force Continental Group closed,   ·2·   · · · Q.· ·Who was your primary contact from the
·3·   ·yes, I was -- yes.                                       ·3·   ·military at Fort Bragg?
·4·   · · · Q.· ·And who did you negotiate with, the Air        ·4·   · · · · · ·MR. YOO:· Objection.· Vague and ambiguous.
·5·   ·Force itself or someone else?                            ·5·   ·BY MR. PENRY:
·6·   · · · A.· ·The Air Force.                                 ·6·   · · · Q.· ·You can answer.
·7·   · · · Q.· ·All right.· And you say that it resulted in    ·7·   · · · A.· ·I had -- every two years command would
·8·   ·a $455 million partnership, correct?                     ·8·   ·change out.· So it varied, again, every two years.
·9·   · · · A.· ·That $455 million partnership is the total     ·9·   · · · Q.· ·Who was your primary contact when you left
10·   ·budgeted development cost at the time of closing.        10·   ·Corvias?
11·   · · · Q.· ·And again, that's not confidential, is it,     11·   · · · A.· ·Well, now, when I left Corvias is two
12·   ·or private?                                              12·   ·separate things.· My responsibilities over the Army
13·   · · · A.· ·That was not --                                13·   ·portfolio ended in the spring, plus or minus, of
14·   · · · · · ·MR. YOO:· Hold on.· Objection to the extent    14·   ·2020.
15·   · · · it calls for a legal conclusion.                    15·   · · · Q.· ·Okay.· So who was your primary contact at
16·   ·BY MR. PENRY:                                            16·   ·Fort Bragg from 2018 until 2020?
17·   · · · Q.· ·You can answer.                                17·   · · · A.· ·The last garrison commander I remember, and
18·   · · · A.· ·We see it here before us.                      18·   ·I believe it was in that time frame, was Colonel Kyle
19·   · · · Q.· ·Right.· So it's obviously not confidential,    19·   ·Reid.
20·   ·correct?                                                 20·   · · · Q.· ·And when you say you engaged with him, what
21·   · · · · · ·MR. YOO:· Same objection.                      21·   ·does that mean?· Did you speak with him on a daily
22·   ·BY MR. PENRY:                                            22·   ·basis or at some time or something less than that?
23·   · · · Q.· ·You can answer.                                23·   · · · A.· ·Something far less than that.
24·   · · · A.· ·Corvias obviously determined not to keep       24·   · · · Q.· ·Who was the person, the Corvias employee
25·   ·that confidential, but the way Corvias manages its       25·   ·that was on base and responsible for the work that


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·1·   ·Corvias did?                                             ·1·   ·operations -- the day-to-day operations of the
·2·   · · · · · ·MR. YOO:· Objection.· Vague and ambiguous as   ·2·   ·property management function.
·3·   · · · to Corvias.                                         ·3·   · · · · · ·There is also another entity that is Corvias
·4·   · · · · · ·Andy, it would be helpful if you could         ·4·   ·Construction.· Corvias Construction is another entity
·5·   · · · specify which Corvias entity you are talking        ·5·   ·that manages -- or actually serves as a general
·6·   · · · about.                                              ·6·   ·contractor on behalf of Corvias Development, who hired
·7·   · · · · · ·MR. PENRY:· Any Corvias entity, Bragg          ·7·   ·the construction entity, and those entities work on
·8·   · · · Communities or anybody else.                        ·8·   ·behalf of Bragg Communities.
·9·   · · · · · ·MR. YOO:· Overly broad.                        ·9·   · · · Q.· ·Any others?
10·   ·BY MR. PENRY:                                            10·   · · · · · ·MR. YOO:· Overly broad.
11·   · · · Q.· ·You can answer.                                11·   ·BY MR. PENRY:
12·   · · · A.· ·Yeah, it is -- that is broad.                  12·   · · · Q.· ·You can answer.
13·   · · · Q.· ·Well, just tell me who was the person from     13·   · · · A.· ·From Bragg Communities below, those are the
14·   ·Bragg Communities that was the person who had            14·   ·four entities.
15·   ·oversight of that entity's work at Fort Bragg.           15·   · · · Q.· ·All right.· Were they all under the
16·   · · · A.· ·I was assigned to Bragg Communities, but       16·   ·supervision of Heather Fuller or did they each have
17·   ·Bragg Communities did not have any employees.            17·   ·their own people who were responsible for their work?
18·   · · · Q.· ·All right.                                     18·   · · · A.· ·Heather Fuller was responsible -- again,
19·   · · · A.· ·The last person -- you asked about another     19·   ·when I left my responsibilities in spring of 2020,
20·   ·Corvias entity.· The last person that I recall who       20·   ·Heather was responsible solely for the property
21·   ·worked for Corvias Property Management, I believe her    21·   ·management entity Corvias Management.
22·   ·title was operations director.· Titles have changed      22·   · · · Q.· ·Who was responsible for the other entities
23·   ·quite often, so I'm not trying to be evasive.· It's      23·   ·that you just described?
24·   ·just trying to remember the various titles.· Her         24·   · · · A.· ·I had responsibilities for Bragg
25·   ·name -- I just totally lost her last name.· Her name     25·   ·Communities.· I was assigned to Bragg Communities, as

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·1·   ·was -- Heather was her first name.· But she was the --   ·1·   ·well as assigned to multiple other installations in a
·2·   ·I believe operations director was the title.             ·2·   ·similar capacity.
·3·   · · · Q.· ·Heather Fuller?                                ·3·   · · · · · ·As far as the construction and development
·4·   · · · A.· ·Fuller, that's it.                             ·4·   ·entity, I do not recall.· I know there had been a lot
·5·   · · · Q.· ·And what was her job?                          ·5·   ·of -- not a lot, there had been some turnover in those
·6·   · · · A.· ·Heather's job, again, spring of 2020, when     ·6·   ·roles.· I do not recall who had responsibility for
·7·   ·my responsibilities shifted to other projects, she was   ·7·   ·those two entities.
·8·   ·the operations director.· So she was working for         ·8·   · · · Q.· ·Did you personally work at Fort Bragg, have
·9·   ·Corvias Management.· So she led the property             ·9·   ·an office there, for example?
10·   ·management operations at Fort Bragg.                     10·   · · · A.· ·No, I did not have an office at Fort Bragg.
11·   · · · Q.· ·Which Corvias entity was responsible for any   11·   · · · Q.· ·How often -- from 2018 to 2020, how often,
12·   ·work that was done at Fort Bragg, whether it's           12·   ·generally, would you visit the Bragg installation?
13·   ·maintenance, construction, any work that was done at     13·   · · · A.· ·Generally, from '18 to '20 -- this is a
14·   ·Fort Bragg?                                              14·   ·guess -- probably three times on average per year.
15·   · · · · · ·MR. YOO:· Overly broad.· Vague and             15·   · · · Q.· ·When you were the SVP for operations from
16·   · · · ambiguous.· Calls for a legal conclusion.           16·   ·2013 to 2018, how often did you visit the Bragg
17·   ·BY MR. PENRY:                                            17·   ·installation?
18·   · · · Q.· ·You can answer.                                18·   · · · A.· ·It probably would have followed about a
19·   · · · A.· ·There is multiple entities.· I'm happy to      19·   ·couple of times a years.· Again, I was responsible for
20·   ·walk through the list, but it would take some time.      20·   ·13 installations.
21·   ·There are multiple entities.                             21·   · · · Q.· ·And what was your job as senior vice
22·   · · · Q.· ·Go ahead.                                      22·   ·president of operations at Corvias?
23·   · · · A.· ·Well, we just talked about the property        23·   · · · A.· ·I was responsible for oversight and
24·   ·management entity, Corvias Management.· So that entity   24·   ·management of the various entities at each of those 13
25·   ·will manage subcontractors and work related to the       25·   ·installations.


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·1·   · · · Q.· ·What's the difference between the work you     ·1·   ·managed.· I'm not in that level of detail.
·2·   ·did as SVP of operations and the work you did as a       ·2·   · · · Q.· ·Did you have any responsibility for work
·3·   ·partnership advisor?                                     ·3·   ·orders at all?
·4·   · · · A.· ·The role shifted into a little bit more of     ·4·   · · · A.· ·No.
·5·   ·the engagement, as I mentioned a moment ago, with -- I   ·5·   · · · Q.· ·Do you know who had responsibility for work
·6·   ·think the comment said legislative consultants and we    ·6·   ·orders in Fort Bragg?
·7·   ·narrowed that down to lobbyists.· So it was really       ·7·   · · · A.· ·Again, work orders would be managed by the
·8·   ·more engaging with those folks, engaging with members    ·8·   ·Corvias Management entity.· So, as we have discussed a
·9·   ·on the Hill, et cetera.· So it was an evolution of the   ·9·   ·moment ago, that would fall under, at the time I left
10·   ·role from the SVP of operations to the partnership       10·   ·responsibilities for Fort Bragg, would have fallen
11·   ·advisor.                                                 11·   ·under the then operations director Heather Fuller.
12·   · · · Q.· ·When you were the SVP of operations, to whom   12·   · · · Q.· ·Heather Fuller, you say?
13·   ·did you directly report?                                 13·   · · · A.· ·Yes.
14·   · · · A.· ·It was Michael De La Rosa, as I previously     14·   · · · Q.· ·Do you know the names of any people that
15·   ·shared.                                                  15·   ·reported to her at Fort Bragg?
16·   · · · Q.· ·So the whole time, from 2013 to 2018,          16·   · · · A.· ·Last I recall, there were 150, 170 team
17·   ·correct?                                                 17·   ·members working for Corvias Management at Fort Bragg.
18·   · · · A.· ·From '13 to '18, yes.                          18·   ·So that's a large team.
19·   · · · Q.· ·At your current job, to whom do you report?    19·   · · · Q.· ·Do you have any familiarity with the Yardi
20·   · · · A.· ·Excuse me.· I report to a managing director    20·   ·software?
21·   ·for Harrison Street.                                     21·   · · · A.· ·I'm familiar with Yardi and the fact that it
22·   · · · Q.· ·Who is that?                                   22·   ·is the property management software that Corvias
23·   · · · A.· ·His name is Jim Hennessy.                      23·   ·Management utilized, but I don't think I have ever
24·   · · · Q.· ·And where is he?· Is he in Chicago or          24·   ·logged in to Yardi.
25·   ·somewhere else?                                          25·   · · · Q.· ·All right.· Who made the decision, if you

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·1·   · · · A.· ·He is in Chicago -- or out of the Chicago      ·1·   ·know, at Corvias to use the Yardi software?
·2·   ·office, rather.                                          ·2·   · · · · · ·MR. YOO:· Vague and ambiguous as to Corvias.
·3·   · · · Q.· ·During the time from 2013 until you left       ·3·   · · · A.· ·Which Corvias entity are you referring to?
·4·   ·Corvias, where did you live?                             ·4·   ·BY MR. PENRY:
·5·   · · · A.· ·From '13 -- I lived in Dothan, Alabama.        ·5·   · · · Q.· ·Any entity that worked at Fort Bragg, the
·6·   ·Sorry, it took me a moment to process the question.      ·6·   ·ones that you told me a few minutes ago.· Who within
·7·   · · · Q.· ·I guess, let me ask it a better way.           ·7·   ·those entities would have used the Yardi software, to
·8·   · · · · · ·You have lived in Dothan, Alabama at least     ·8·   ·your knowledge?
·9·   ·from 2013 until now, correct?                            ·9·   · · · · · ·MR. YOO:· Overly broad.· Compound.
10·   · · · A.· ·That is correct.                               10·   · · · A.· ·I don't believe anybody other than the
11·   · · · Q.· ·And during your whole time you have worked     11·   ·Corvias Management entity that we just discussed at
12·   ·for either Corvias or Picerne, have you lived in         12·   ·Fort Bragg would utilize Yardi.
13·   ·Dothan, Alabama?                                         13·   ·BY MR. PENRY:
14·   · · · A.· ·Since 2005.                                    14·   · · · Q.· ·I'm going to ask you a couple of questions
15·   · · · Q.· ·Have you ever lived in Fayetteville or near    15·   ·about the Corvias Resident Responsibility Guide, okay?
16·   ·Fort Bragg?                                              16·   · · · A.· ·Okay.
17·   · · · A.· ·No, no.                                        17·   · · · Q.· ·Do you know anything about the Corvias
18·   · · · Q.· ·Did you ever have an office at Fort Bragg?     18·   ·Resident Responsibility Guide?
19·   · · · A.· ·No.                                            19·   · · · A.· ·I know what the Corvias Resident
20·   · · · · · ·MR. YOO:· Asked and answered.                  20·   ·Responsibility Guide is.· I cannot recall the last
21·   ·BY MR. PENRY:                                            21·   ·time I would have looked at that document.
22·   · · · Q.· ·Are you familiar with the work order           22·   · · · Q.· ·What is Corvias Military Living?
23·   ·policies of Corvias Property Management?                 23·   · · · A.· ·Corvias Military Living is an entity
24·   · · · A.· ·No.· You would need to speak with the          24·   ·above -- for the purpose of our discussion of Fort
25·   ·Corvias Management folks as far as how work orders are   25·   ·Bragg, is an entity above Bragg Picerne Partners,


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·1·   ·have made this comment in many forums through many       ·1·   ·experience level items.· Through the years, due to
·2·   ·years, is that MHPI overall is subject to a lot of       ·2·   ·pretty severe BAH reductions, various amenities and
·3·   ·aging infrastructure, and because that aging             ·3·   ·various services had to be discontinued in agreement
·4·   ·infrastructure exists there is definitely an             ·4·   ·and in coordination with the United States Army.· And
·5·   ·opportunity for improvement.· So that aging              ·5·   ·so the documents that you are referring to and the
·6·   ·infrastructure can literally mean some of the older      ·6·   ·comments about the "march to the gold standard" were
·7·   ·homes that have gone through an expected life cycle      ·7·   ·really referencing that, that soft customer service,
·8·   ·and are ready for redevelopment and/or some form of      ·8·   ·reopening community centers.
·9·   ·renovation.                                              ·9·   · · · · · ·If I recall, there was also call centers
10·   · · · · · ·The term "aging infrastructure" can also --    10·   ·that were outsourced, which as a result of that
11·   ·or does in the context that I use it, can also           11·   ·document which was put together by Corvias
12·   ·literally mean the infrastructure in the purest          12·   ·Management -- I wasn't involved in that -- bringing
13·   ·development sense.· It could mean the underground        13·   ·back call centers to the communities.· There were
14·   ·utilities that feed a neighborhood.· It could be the     14·   ·community centers -- I think I just mentioned that --
15·   ·lateral lines that are supplied to a home.· So the       15·   ·that were closed due to funding challenges, and
16·   ·term "aging infrastructure" is really more of a          16·   ·community centers were reopened.· So it was various
17·   ·broader term for the whole of MHPI.                      17·   ·items like that, sort of that soft customer service
18·   · · · Q.· ·Can you tell us which communities within       18·   ·enhancement.
19·   ·Fort Bragg you consider to be aging and in need of       19·   · · · Q.· ·To your knowledge, is there some document
20·   ·renovation?                                              20·   ·that describes what the Corvias gold standard is?
21·   · · · · · ·MR. YOO:· Objection.· Overly broad.· Vague     21·   · · · A.· ·I recall there was a document that was
22·   · · · and ambiguous.                                      22·   ·referred to as the "march to gold standard," yeah.
23·   · · · A.· ·No.· I can't answer that question.· I don't    23·   · · · Q.· ·Okay.· And describe that document, please.
24·   ·know.· Again, it's a broader statement about, you        24·   · · · A.· ·Not being smart, but I just did.· So I was
25·   ·know, if a home needs renovation, if a home needs to     25·   ·trying to think if there is anything else contained in

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·1·   ·go through redevelopment, you know.· Those are the       ·1·   ·that, which I am sure there are some other items. I
·2·   ·types of things that need to be addressed in             ·2·   ·believe there were some items about vehicles that
·3·   ·partnership with the Army, and they are.                 ·3·   ·maintenance folks were using were more readily
·4·   ·BY MR. PENRY:                                            ·4·   ·identifiable, getting back to some of the basics of
·5·   · · · Q.· ·All right.· Can you name the communities in    ·5·   ·ensuring name tags, uniform upgrades, town halls,
·6·   ·Fort Bragg?                                              ·6·   ·those types of things.
·7·   · · · A.· ·No.· I can't list all of the communities at    ·7·   · · · Q.· ·Mr. Picerne also said, or at least wrote as
·8·   ·Fort Bragg.                                              ·8·   ·part of his presentation to Congress, that Corvias had
·9·   · · · Q.· ·Okay.                                          ·9·   ·hired a world-renowned specialist to review our mold
10·   · · · A.· ·For clarification -- sorry to go back.· When   10·   ·and mildew procedures.· Do you know who that person
11·   ·you say "communities," I'm assuming you mean             11·   ·is?
12·   ·individual neighborhoods.                                12·   · · · · · ·MR. YOO:· Andy, could you maybe show that
13·   · · · Q.· ·Yes.                                           13·   · · · reference to Mr. Burleson?· I don't know that he
14·   · · · A.· ·So I was answering in the context of           14·   · · · knows these things off the top of his head.
15·   ·neighborhoods, okay.                                     15·   · · · · · ·MR. PENRY:· Okay.· Sure, we can.· Give us a
16·   · · · Q.· ·That is what I mean.                           16·   · · · second to put it in.· It will be Exhibit 4.
17·   · · · · · ·Okay.· Give me just a second.                  17·   · · · · · ·(Exhibit 4 marked for identification.)
18·   · · · · · ·When Mr. Picerne testified before Congress     18·   ·BY MR. PENRY:
19·   ·in February of 2019, he said that the company was        19·   · · · Q.· ·Can you see it, Mr. Burleson?
20·   ·returning to the gold standard level of resident care    20·   · · · A.· ·Yes, sir.· I see the document.· It says
21·   ·that defined our company from the start.· Do you know    21·   ·February 13, 2019 at the top.
22·   ·what he meant by "gold standard"?                        22·   · · · Q.· ·Okay.· If you will look at the bottom,
23·   · · · · · ·MR. YOO:· Objection.· Lacks foundation.        23·   ·Mr. Picerne says in his statement, "We're returning to
24·   · · · A.· ·The gold standard was really in reference to   24·   ·the 'gold standard' level of resident care that
25·   ·getting back to some of the customer centric             25·   ·defined our company from the start."


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·1·   · · · · · ·Do you see that?                               ·1·   ·between the two of them.· Good grief.· Mike Sariskey
·2·   · · · A.· ·I see that.                                    ·2·   ·was in between Mark and Sharon.
·3·   · · · Q.· ·That's what I was asking you about before.     ·3·   · · · Q.· ·Sharon now works for Mayroad, right?
·4·   · · · · · ·So if we can go to the next page -- and by     ·4·   · · · A.· ·That is correct.
·5·   ·the way, this is February 13, 2019.· So you were still   ·5·   · · · Q.· ·When did she start working at Mayroad?
·6·   ·employed by Corvias at that time, correct?               ·6·   · · · A.· ·In its inception mid-December of 2021.
·7·   · · · A.· ·That is correct.                               ·7·   · · · Q.· ·Other than you and Sharon, what other
·8·   · · · Q.· ·All right.· Did you have any role in helping   ·8·   ·Corvias employees went from Corvias to Mayroad?
·9·   ·Mr. Picerne prepare this statement?                      ·9·   · · · A.· ·103, 102 employees.
10·   · · · A.· ·I recall providing some edits or comments to   10·   · · · Q.· ·So it was a large number of people, correct?
11·   ·the statement overall, but again, that was 2019.         11·   · · · A.· ·It was, yes.· For the most part, it was the
12·   · · · Q.· ·You saw it before it was presented to          12·   ·entire property management team as a whole across all
13·   ·Congress, right?                                         13·   ·six of the Air Force installations that we discussed
14·   · · · A.· ·I did.                                         14·   ·earlier.
15·   · · · Q.· ·Okay.· Let's look at the second page.· The     15·   · · · Q.· ·Did Ms. Shores work at one of the Air Force
16·   ·first bullet point under "First," "We are living the     16·   ·installations?
17·   ·'Corvias Commitment.'"                                   17·   · · · A.· ·She has worked at one of the Air Force
18·   · · · · · ·What is the "Corvias Commitment'"?             18·   ·installations.
19·   · · · A.· ·It goes on to, I believe, explain it, where    19·   · · · Q.· ·Where was she working when she left Corvias
20·   ·it says "a series of specific commitments, to our        20·   ·and came to Mayroad?
21·   ·residents, that we," Corvias, "will respond promptly     21·   · · · A.· ·She was serving in an overall property
22·   ·to a request, actively seek feedback, and make changes   22·   ·management capacity for the Air Force Continental
23·   ·when we," Corvias, "need to do better."                  23·   ·Group.
24·   · · · Q.· ·Was the Corvias Commitment documented in a     24·   · · · Q.· ·When did she -- is there some point at which
25·   ·paper or a document somewhere other than this?           25·   ·she stopped working on the Bragg facilities?

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·1·   · · · A.· ·If I'm remembering correctly, that would       ·1·   · · · A.· ·Yes.
·2·   ·have been part of that "march to gold" document. I       ·2·   · · · Q.· ·When was that?
·3·   ·don't recall it being something separate.                ·3·   · · · A.· ·That would have been -- I don't recall -- as
·4·   · · · Q.· ·Okay.· If we'll look to -- under "Second"      ·4·   ·I just said a moment ago, I don't recall when Heather
·5·   ·with the bullet points.· The second bullet point,        ·5·   ·started.· I believe that would have been, plus or
·6·   ·"We're moving our resident call centers back to the      ·6·   ·minus, summer of '19, summer-fall, somewhere in that
·7·   ·local installations."                                    ·7·   ·time frame.· I just -- I don't recall specifically.
·8·   · · · · · ·Do you see that?                               ·8·   · · · Q.· ·Let's look at -- under "Second," let's look
·9·   · · · A.· ·Right.· I do see that.                         ·9·   ·at the third bullet point.· "We hired a world-renowned
10·   · · · Q.· ·Was that done at Fort Bragg?                   10·   ·specialist - at no cost to the government - to review
11·   · · · A.· ·Yes.                                           11·   ·our mold and mildew procedures, so that here, too, we
12·   · · · Q.· ·Who was in charge of the local call center     12·   ·are living up to the gold standard."
13·   ·at Fort Bragg, if you know?                              13·   · · · · · ·Do you see that?
14·   · · · A.· ·That would have been someone from Corvias      14·   · · · A.· ·I do.
15·   ·Management.· I don't know who had the lead with that     15·   · · · Q.· ·Do you recall the name of that
16·   ·task.                                                    16·   ·world-renowned specialist?
17·   · · · Q.· ·Who was the person at Corvias Management       17·   · · · A.· ·Yes, I do.
18·   ·that was responsible for Fort Bragg?· Was it Heather     18·   · · · Q.· ·What is it?
19·   ·Fuller or somebody else?                                 19·   · · · A.· ·I believe it was TRC.· I believe that was
20·   · · · A.· ·I don't believe Heather started until later    20·   ·the name of the company.· TRC, I think that's right.
21·   ·in the year of '19.· I know that Sharon Shores had       21·   · · · Q.· ·Did they do any work at Bragg, to your
22·   ·property management responsibilities at Fort Bragg.      22·   ·knowledge?
23·   ·Before that, it was -- oh, shoot.· Before that, it was   23·   · · · A.· ·TRC work at Bragg?· Not to my knowledge.
24·   ·Mark Foraker.· I believe he was immediately before       24·   · · · Q.· ·Where did they do their work?
25·   ·Sharon.· I think there was also another gentleman in     25·   · · · A.· ·Well, they did an overall view across all of


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·1·   ·the 13 installations, and I think it says -- yeah, I     ·1·   ·detailed weekly work order situation reports?
·2·   ·just saw that.· It's to review mold and mildew           ·2·   · · · A.· ·That would have been somebody from the
·3·   ·procedures.· So if I'm remembering correctly, TRC went   ·3·   ·property management team.· So through the process that
·4·   ·in, put together a really holistic look at the overall   ·4·   ·we just talked about, it would have been Sharon to
·5·   ·mold policies and procedures all the way down to the     ·5·   ·Heather.· And my understanding or my -- yeah, I think
·6·   ·SOPs.                                                    ·6·   ·it was continuing to occur when my responsibilities
·7·   · · · · · ·If I'm remembering correctly, too, what they   ·7·   ·ended in the spring of '20.
·8·   ·did is they actually took a lot of -- through their      ·8·   · · · Q.· ·So those were documents that were made by
·9·   ·recommendations, took a lot of the ambiguity out for     ·9·   ·Corvias, correct, that were created by Corvias?
10·   ·any potential, what's referred to as SFG, suspected      10·   · · · · · ·MR. YOO:· Vague and ambiguous as to Corvias.
11·   ·fungal growth.· And it really created more of an "if     11·   ·BY MR. PENRY:
12·   ·this" -- no, an "if then, do" situation, where if        12·   · · · Q.· ·Who created the documents?
13·   ·there is some suspected fungal growth and it's within    13·   · · · A.· ·I don't believe, in the context of the work
14·   ·a certain size, you flip to the SOP, or you flip to      14·   ·order situation report, that it was an actual report
15·   ·the recommendation and you are going to do this.· And    15·   ·that was printed out and given.· I believe it was more
16·   ·it really took a lot of the ambiguity out, and           16·   ·in the context of the Army partners at each of the
17·   ·involvement, from just one entity or one individual.     17·   ·installations had access to the Yardi system to go in
18·   ·I know that the Air Force -- or excuse me, the Army      18·   ·and see a custom report that's in the system versus
19·   ·folks were involved in those processes as well.          19·   ·anything that was physically printed out and handed.
20·   · · · · · ·So yeah, that's what I remember about TRC.     20·   ·I believe that was the case.
21·   ·Again, not directly related to Bragg, but that comment   21·   · · · Q.· ·Is there something that is -- is there a
22·   ·was for the overall portfolio of 13 installations.       22·   ·document or electronic document that is a weekly work
23·   · · · Q.· ·Did TRC actually visit any of the              23·   ·order situation report?
24·   ·installations?                                           24·   · · · · · ·MR. YOO:· Vague and ambiguous.
25·   · · · A.· ·I do not -- I don't know.· I don't know if     25·   · · · A.· ·My understanding is yes, that was -- that

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·1·   ·they did, the installations as a whole.· Now, they did   ·1·   ·was done.· But again, I believe that was something
·2·   ·have involvement at Bragg, so yes, I know that --        ·2·   ·that was managed, not necessarily something that was
·3·   ·excuse me, Fort Meade.· I know they visited Fort         ·3·   ·physically handed.· But it allowed -- access was
·4·   ·Meade.                                                   ·4·   ·allowed from the Army partners into the Yardi system.
·5·   · · · Q.· ·Do you know whether they visited Fort Bragg?   ·5·   ·BY MR. PENRY:
·6·   · · · A.· ·I do not know if they visited Fort Bragg. I    ·6·   · · · Q.· ·And that was the report?· They were simply
·7·   ·don't believe so.· I don't believe they visited the      ·7·   ·allowed into the Yardi system?
·8·   ·installations in reviewing the policies and              ·8·   · · · A.· ·Well, that's what I was saying.· So in the
·9·   ·procedures, but I just don't know.                       ·9·   ·system, custom reports can be created.· I am probably
10·   · · · Q.· ·And obviously, you don't know whether TRC      10·   ·not translating or sharing that.· It makes perfect
11·   ·did any testing of any facilities at Fort Bragg,         11·   ·sense in my mind.· But in the system, reports can be
12·   ·correct?                                                 12·   ·created and somebody then can come in and see those
13·   · · · A.· ·I do not know that to be fact, but I do not    13·   ·reports with a roll up of information.· I believe
14·   ·believe that they did.                                   14·   ·that's what was being shared.
15·   · · · Q.· ·Okay.· Let's look at the next page, the        15·   · · · Q.· ·Were those reports created within the Yardi
16·   ·"Finally."· "We took the proactive step to provide our   16·   ·system?
17·   ·military partners with a detailed weekly work order      17·   · · · A.· ·Yes.· To my knowledge, yes.
18·   ·situation report."                                       18·   · · · Q.· ·So weekly work order situation reports were
19·   · · · · · ·Do you see that?                               19·   ·created and resided in the Yardi system, correct?
20·   · · · A.· ·I do.                                          20·   · · · A.· ·To my understanding, yes.
21·   · · · Q.· ·Did you actually do that?                      21·   · · · Q.· ·And I think you said that the military had
22·   · · · A.· ·Yes, that was done.· Yes, that was being       22·   ·access to the Yardi system to look at those weekly
23·   ·done.· And it was to provide the Army partners at Fort   23·   ·work order situation reports, correct?
24·   ·Bragg an update on what was going on with work orders.   24·   · · · A.· ·To my knowledge at the time, yes.
25·   · · · Q.· ·And who was responsible for providing the      25·   · · · Q.· ·To your knowledge, when you left Corvias,


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·1·   ·were those weekly work order situation reports still     ·1·   ·United States Army when the deal closed back in -- I
·2·   ·available to be reviewed in the Yardi system?            ·2·   ·don't remember the exact date -- 2002, 2003.
·3·   · · · A.· ·To my knowledge, yes.                          ·3·   · · · · · ·So in this context, I don't remember the
·4·   · · · Q.· ·Are you aware as to whether any of those       ·4·   ·details.· Again, each deal was a little bit different.
·5·   ·weekly work order situation reports were deleted from    ·5·   ·But there was a base -- or is still, a base management
·6·   ·the Yardi system?                                        ·6·   ·fee -- property management fee, as well as an
·7·   · · · A.· ·I have no reason to believe that.              ·7·   ·incentive fee.· The incentive fee -- and each one had
·8·   · · · Q.· ·All right.· Who was in charge of the Yardi     ·8·   ·a different percentage, and I do not recall what those
·9·   ·system in Fort Bragg -- at Fort Bragg?                   ·9·   ·percentages were.· Again, they varied from deal to
10·   · · · A.· ·I don't know specifically.· I would -- it's    10·   ·deal.· So out of the 13 deals, I just can't remember
11·   ·not fair for me to assume or --                          11·   ·those percentages.
12·   · · · · · ·MR. YOO:· Don't assume.· Don't assume or       12·   · · · · · ·But in the incentive portion, there was a
13·   · · · guess.· If you know, you can provide the            13·   ·list of very specific metrics.· And if those metrics
14·   · · · information, but we don't want you to guess.        14·   ·were achieved, then the United States Army would
15·   · · · A.· ·I don't know, then.                            15·   ·verify the submission document to ensure that those
16·   · · · · · ·MR. PENRY:· You know, Thomas, that violates    16·   ·metrics were, in fact, achieved, and then the Army
17·   · · · every rule we have in the Eastern District of       17·   ·released the incentive fee to Corvias Management.
18·   · · · North Carolina.· Please don't do that again.· We    18·   · · · Q.· ·Did Corvias Management have to provide a
19·   · · · don't coach our witnesses here.· And you don't      19·   ·payment application or other information to the Army
20·   · · · need to respond to me.· I'm just telling you.       20·   ·relating to the calculation of the incentive fees?
21·   · · · · · ·MR. YOO:· Well, I am going to respond to       21·   · · · A.· ·Yes.
22·   · · · you.· I wasn't coaching the witness.· And, Andy,    22·   · · · Q.· ·And did that document have a name?
23·   · · · I'm surprised you would want any witness to guess   23·   · · · A.· ·No.· I have just always referred to it as
24·   · · · or speculate on the record.· I thought I was        24·   ·the incentive fee submission, but I don't know that it
25·   · · · simply reiterating what we all want and what the    25·   ·had a specific name.

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·1·   · · · basic rule is in any federal court.                 ·1·   · · · Q.· ·Some employee of Corvias was required to
·2·   · · · · · ·MR. PENRY:· Yeah, I'm aware of the rules in    ·2·   ·sign that submission, correct?
·3·   · · · federal court, and I just told you what they        ·3·   · · · A.· ·Yes.
·4·   · · · were.· But we're going to go on.· I don't want to   ·4·   · · · Q.· ·And was it treated like a, for example,
·5·   · · · argue with you on the record if I can possibly      ·5·   ·payment application for construction, that it was
·6·   · · · avoid it.                                           ·6·   ·signed under oath or by notarization?· Was it that
·7·   ·BY MR. PENRY:                                            ·7·   ·kind of thing or was it not?
·8·   · · · Q.· ·Okay.· We are moving to page -- yeah, there    ·8·   · · · · · ·MR. YOO:· Objection.· Vague and ambiguous.
·9·   ·is no page numbers to this.                              ·9·   · · · Overly broad.
10·   · · · · · ·Okay.· You see the second paragraph on this    10·   ·BY MR. PENRY:
11·   ·sheet, "Corvias is paid a property management fee."      11·   · · · Q.· ·Let me try again.
12·   · · · · · ·Is that true?                                  12·   · · · · · ·Was the incentive submission provided under
13·   · · · A.· ·A Corvias entity is paid a property            13·   ·oath?
14·   ·management fee.                                          14·   · · · A.· ·No.
15·   · · · Q.· ·Which entity was paid property management      15·   · · · Q.· ·And to whom did it go?
16·   ·fees relating to Fort Bragg?                             16·   · · · A.· ·It went from the management entity to
17·   · · · A.· ·Corvias Management.                            17·   ·the -- now this is in broad terms.· But it went from
18·   · · · Q.· ·And do you know how that property management   18·   ·the management entity to the partnership, garrison
19·   ·fee was calculated?                                      19·   ·command and the RCI partners at each installation --
20·   · · · A.· ·I don't recall the specific details, but the   20·   ·this is in the Army context -- for their review.· Once
21·   ·fee -- and it varied from deal to deal.· So we are       21·   ·there was concurrence from the garrison commander that
22·   ·talking about really two separate things.· The           22·   ·all of the incentives that Corvias Management believed
23·   ·fees -- the property management fee structure at the     23·   ·should be paid, he or she would then verify that with
24·   ·time of '19 was the same property management fee         24·   ·consultation from their DOD civilian teams.
25·   ·structure that Bragg Communities agreed to with the      25·   · · · · · ·Once you had that concurrence and that


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·1·   ·approval, it went up to the secretary at the Army        ·1·   ·information about emergency work orders.· Do you see
·2·   ·secretariat level.· And the Army secretariat, I          ·2·   ·that?
·3·   ·believe their consultants would review the document.     ·3·   · · · A.· ·I do.
·4·   ·Actually, I know the consultants reviewed the            ·4·   · · · Q.· ·And "97 percent of 3,645 total emergency
·5·   ·document, and then ultimately, it went to some level     ·5·   ·work orders at our Army communities were responded to
·6·   ·of the capital ventures directorate or some level of     ·6·   ·within eight hours and completed within 24 hours."
·7·   ·the deputy assistant secretary for sign off.· And once   ·7·   · · · · · ·Do you see that?
·8·   ·that occurred, it instructed the United States Army as   ·8·   · · · A.· ·I see that.
·9·   ·well as -- well, instructed the United States Army to    ·9·   · · · Q.· ·Are there documents reflecting that
10·   ·release the funds from the lockbox agent and then        10·   ·statement?
11·   ·Corvias Management would be paid.                        11·   · · · A.· ·Do you mind scrolling up just a little bit?
12·   · · · Q.· ·You mentioned consultants.· You meant          12·   ·I'm sorry.· I guess it would be down.· I'm sorry.
13·   ·consultants to the military?                             13·   · · · Q.· ·Yeah, okay.
14·   · · · A.· ·Consultants to the Army.                       14·   · · · A.· ·Right there.· That's what I was trying to
15·   · · · Q.· ·Okay.· Who are those consultants?              15·   ·get, the context.
16·   · · · A.· ·Jones Lang LaSalle, JLL.                       16·   · · · · · ·Okay.· I'm sorry.· Can you ask the question
17·   · · · Q.· ·Okay.· And did Corvias ever interact with      17·   ·again?
18·   ·that consultant, to your knowledge --                    18·   · · · Q.· ·Are there documents that reflect -- that
19·   · · · · · ·MR. YOO:· Objection.· Overly broad.· Vague     19·   ·demonstrate the 97 percent statement in Mr. Picerne's
20·   · · · and ambiguous.                                      20·   ·statement?
21·   ·BY MR. PENRY:                                            21·   · · · A.· ·To my knowledge, not documents, but
22·   · · · Q.· ·-- relating to the incentive fees?             22·   ·information that can be accessed via the Yardi system.
23·   · · · A.· ·Sure.· JLL may have some questions, "Hey,      23·   · · · Q.· ·Okay.· So are the emergency work orders in
24·   ·you know, we just need a little bit of clarification     24·   ·the Yardi system?
25·   ·on this."· Or, you know, in some cases -- and this was   25·   · · · A.· ·As I shared earlier, I'm not a Yardi expert,

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·1·   ·rare, but it's the first thing that popped into my       ·1·   ·but my understanding is that everything work order
·2·   ·head.· In some cases, there may be a rounding error,     ·2·   ·related is in that Yardi system, and so data can be
·3·   ·you know.· So instead of it being $5.38, it should       ·3·   ·pulled to give this type of information.
·4·   ·have been $5.37.· But it was really that level of        ·4·   · · · Q.· ·Do you know what data is within the Yardi
·5·   ·minutia that the JLL consultants would dive into on      ·5·   ·system?· Do you know what the universe of it is?
·6·   ·those incentive fee payments.                            ·6·   · · · · · ·MR. YOO:· Overly broad.· Vague and
·7·   · · · Q.· ·Did you have any -- was that part of your      ·7·   · · · ambiguous.
·8·   ·job to deal with the incentive payments?                 ·8·   ·BY MR. PENRY:
·9·   · · · A.· ·Occasionally, I would review the documents,    ·9·   · · · Q.· ·Let me ask it again.
10·   ·but it had been -- it's been many years since I have     10·   · · · · · ·Do you know what documents are entered into
11·   ·been in that level of detail.                            11·   ·the Yardi system?
12·   · · · · · ·MR. YOO:· Andy, could we take a 10-minute      12·   · · · A.· ·I could speculate, I could assume, but I
13·   · · · break?· I apologize for interrupting.· I have       13·   ·don't know as fact.· So I -- I don't know that I can
14·   · · · someone that's walking into a hearing for me on     14·   ·answer that question.
15·   · · · the hour.                                           15·   · · · Q.· ·Who would know the answer to that question,
16·   · · · · · ·MR. PENRY:· No, that's fine.· We can --        16·   ·if anyone, within Corvias?
17·   · · · let's see.· It's 1:48 Eastern.· Let's come back     17·   · · · A.· ·It would be somebody within Corvias
18·   · · · at 2:05.· Does that work for you?                   18·   ·Management because that's the software system that
19·   · · · · · ·MR. YOO:· It does.· Thank you.                 19·   ·they use every day.
20·   · · · · · ·(Off the record.)                              20·   · · · Q.· ·Can you give me a name of someone in Corvias
21·   ·BY MR. PENRY:                                            21·   ·Management?
22·   · · · Q.· ·Mr. Burleson, we are still looking at the      22·   · · · A.· ·The last I recall -- I think I shared this
23·   ·exhibit that's Mr. Picerne's statement that was          23·   ·earlier.· The last I recall was Holly Costello.
24·   ·provided to the joint committee -- subcommittee.         24·   · · · Q.· ·What is Yardi?
25·   · · · · · ·So we are looking at a page that has some      25·   · · · A.· ·Yardi is a property management software


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·1·   ·system.                                                  ·1·   · · · Q.· ·When you were at Corvias, who was in charge
·2·   · · · Q.· ·And do you use it with Mayroad?                ·2·   ·of the IT department, if there was one?
·3·   · · · · · ·MR. YOO:· Objection to the extent it calls     ·3·   · · · A.· ·During my -- when I last was involved with
·4·   · · · for confidential trade secret information at        ·4·   ·Corvias, it was a gentleman named Lazz McKenzie.
·5·   · · · Mayroad.                                            ·5·   · · · Q.· ·Where was Mr. McKenzie's office?
·6·   · · · · · ·MR. PENRY:· That's a fair objection.           ·6·   · · · A.· ·He was based out of the Rhode Island office,
·7·   ·BY MR. PENRY:                                            ·7·   ·yes.
·8·   · · · Q.· ·Can you answer the question, though?           ·8·   · · · Q.· ·Okay.· Do you know whether he is still
·9·   · · · · · ·MR. YOO:· You do not have to answer that       ·9·   ·employed by Corvias?
10·   · · · question with regard to your current employer.      10·   · · · A.· ·My understanding is that he is not -- or the
11·   · · · It is not a party to this lawsuit.                  11·   ·last I heard, rather, he is not employed by Corvias.
12·   · · · · · ·MR. PENRY:· All right.· I'll withdraw that     12·   · · · Q.· ·Do you know where he is now?
13·   · · · question.                                           13·   · · · A.· ·I do not know.· No, I don't.
14·   ·BY MR. PENRY:                                            14·   · · · Q.· ·But the last you knew, he was at least
15·   · · · Q.· ·Yardi is something that's used by property     15·   ·working in Rhode Island, correct?
16·   ·managers quite frequently; isn't that true?              16·   · · · A.· ·The last I knew, when he was with Corvias,
17·   · · · A.· ·Yes.· I believe Yardi is a popular property    17·   ·he was -- he lived in Rhode Island.· But like I said,
18·   ·management software system.                              18·   ·my understanding, he's no longer with Corvias.
19·   · · · Q.· ·And how was it used at Fort Bragg?             19·   · · · Q.· ·When did he leave?
20·   · · · A.· ·Can you be more specific?                      20·   · · · A.· ·I don't know.· I don't know if I heard that
21·   · · · Q.· ·Yeah.· How did you use it?· What did you use   21·   ·in late fall.· I don't know if I heard that early
22·   ·it for?                                                  22·   ·spring.· I don't remember when somebody shared that
23·   · · · · · ·MR. YOO:· Objection.· Lacks foundation.        23·   ·with me.· I don't know.
24·   ·BY MR. PENRY:                                            24·   · · · Q.· ·Of what year?
25·   · · · Q.· ·You can answer.                                25·   · · · A.· ·It would have either been towards the tail

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·1·   · · · A.· ·The property management team, Corvias          ·1·   ·end of last year, '21, or the beginning of '22, but I
·2·   ·Management, used it as their software system to manage   ·2·   ·just -- I don't know.
·3·   ·the property -- manage the property management           ·3·   · · · Q.· ·Did he live in Providence?
·4·   ·operations.                                              ·4·   · · · A.· ·I believe he lived in the Greater Providence
·5·   · · · Q.· ·Did they use any software to manage the        ·5·   ·area.· There's lots of little towns.
·6·   ·property operations other than Yardi, to your            ·6·   · · · Q.· ·I know.· I have a child that's in school
·7·   ·knowledge?                                               ·7·   ·there, so -- there is a lot of little towns, so. . .
·8·   · · · A.· ·To my knowledge, no.· To my knowledge, no.     ·8·   · · · · · ·Okay.· Let's go down to the "Looking Ahead,"
·9·   · · · Q.· ·Do you know when the property management       ·9·   ·okay?· Do you see that paragraph?
10·   ·function at Bragg started using Yardi?                   10·   · · · · · ·Mr. Picerne says, "We're tapping more than
11·   · · · A.· ·My understanding is that Yardi had been used   11·   ·140 million in a formerly trapped reserve account."
12·   ·since the inception at Fort Bragg, since the closing     12·   · · · · · ·Do you know what he means by a "formerly
13·   ·in 2002, 2003.                                           13·   ·trapped reserve account"?
14·   · · · Q.· ·Is there any IT person within Corvias that     14·   · · · A.· ·I do.
15·   ·is responsible for Yardi?                                15·   · · · Q.· ·What is it?
16·   · · · A.· ·As it stands today, I don't know.· I have      16·   · · · A.· ·There were some challenges that the
17·   ·been so far removed.· It's been years, so I don't        17·   ·projects, not just Corvias projects, but multiple
18·   ·know.                                                    18·   ·projects -- there were some challenges that caused
19·   · · · Q.· ·When you were at Corvias, was there someone    19·   ·some of the reinvestment reserve accounts within MHPI
20·   ·in the IT function that was responsible for Yardi?       20·   ·to be tied up.· And that $140 million was finally
21·   · · · A.· ·I believe there was.                           21·   ·released.· The $140 million that he is referring to
22·   · · · Q.· ·Do you have a name of that person that you     22·   ·here -- or is referred to here, rather, had been
23·   ·can give us?                                             23·   ·released at that time, plus or minus.· I don't
24·   · · · A.· ·I just -- nobody's name is popping in my       24·   ·remember the exact time frame it would have been
25·   ·head.· No, I don't recall.                               25·   ·released.


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·1·   · · · Q.· ·Why was it tied up?                            ·1·   ·it's actually six of the seven Army installations.
·2·   · · · A.· ·There was an issue with one of the debt        ·2·   ·This was an Army initiative.· Air Force was not
·3·   ·service providers with multiple MHPI projects            ·3·   ·involved.· One installation did not participate.
·4·   ·requesting a year's worth of debt service to be held     ·4·   · · · Q.· ·Can you explain what you mean by a pledge
·5·   ·in escrow which was not part of the original deal, and   ·5·   ·against -- I guess, what did you say?
·6·   ·so that caused a lot of reinvestment reserve account     ·6·   · · · A.· ·I believe I said a pledge against future
·7·   ·funds to be trapped.· Again, fortunately those were      ·7·   ·deposits into the reinvestment reserve account.
·8·   ·released somewhere around this time frame.· I don't      ·8·   · · · Q.· ·All right.· Can you describe how that
·9·   ·remember the exact date.                                 ·9·   ·worked?
10·   · · · Q.· ·Which debt service provider was that?          10·   · · · A.· ·Yeah.· Let me think of the best way to
11·   · · · A.· ·It was a company called Ambac.                 11·   ·explain it.
12·   · · · Q.· ·Do you know why Ambac did what it did?         12·   · · · · · ·So each project has a reinvestment reserve
13·   · · · A.· ·I don't know what their motivation was to do   13·   ·account.· So Fort Bragg, Fort Rucker, Fort Polk, all
14·   ·that across MHPI.                                        14·   ·of the -- actually, all of the MHPI deals have a
15·   · · · Q.· ·Did they not tell anybody what it was?         15·   ·reinvestment reserve account.· All of the funds within
16·   · · · A.· ·I'm sure they had a story.· I just -- I        16·   ·the program stay within the program.· Everything that
17·   ·don't recall.· I think that was resolved in '18, at      17·   ·flows down to the bottom of the cash waterfall in
18·   ·some point of '18, but that's so many years ago. I       18·   ·essence goes into this reinvestment reserve account
19·   ·just -- I don't recall the details.                      19·   ·which is the project's savings account which the Army
20·   · · · Q.· ·Did it have anything to do with issues in      20·   ·controls.
21·   ·maintenance at Fort Bragg or any other facility?         21·   · · · · · ·The reinvestment reserve account at some
22·   · · · A.· ·No, no.· That's two totally different          22·   ·installations was relatively strong.· Some
23·   ·things, totally different.                               23·   ·installations, it needed a little bit -- a little bit
24·   · · · Q.· ·Then we say -- Mr. Picerne says, "and a new    24·   ·more help.· So what Corvias and the Army put together
25·   ·investment of 323 million."                              25·   ·was an ability to pledge future deposits into those

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·1·   · · · · · ·What was the new investment of 323 million?    ·1·   ·reinvestment reserve accounts in order to get an
·2·   · · · A.· ·That was what was referred to at the           ·2·   ·initial cash influx of the 323 -- again, I believe it
·3·   ·time -- I think Corvias ended up changing the official   ·3·   ·was 325, which allowed for a push for meaningful
·4·   ·name.· But as I recall, that was the -- at the time, I   ·4·   ·redevelopment as well as some energy efficiency
·5·   ·know -- it was referred to as AIM UP.· That was the      ·5·   ·upgrades across six of the installations.
·6·   ·323.· I think it ended up being 325.· But it didn't      ·6·   · · · Q.· ·So all of the future reserves are pledged,
·7·   ·close until later on in '19.                             ·7·   ·correct?
·8·   · · · Q.· ·It was called what?· Ama?                      ·8·   · · · A.· ·Not all.· I don't recall what percentage,
·9·   · · · A.· ·AIM UP.· A-I-M, U-P.                           ·9·   ·but it's not -- I don't believe it was all.
10·   · · · Q.· ·Is that a -- what does that mean?              10·   · · · Q.· ·And tell us what you mean by "pledged."
11·   · · · A.· ·So as soon as I just said it out loud, it      11·   · · · A.· ·In essence, that is the collateral for the
12·   ·made me think about the acronym.· I believe it           12·   ·loan, for the assurance of the loan.· Each of the
13·   ·standed -- stood, rather, for Army Infrastructure --     13·   ·projects have to pay back their commensurate portion
14·   ·I don't remember what it stood for.· Army                14·   ·of the loan, but through a normal process of utilizing
15·   ·Infrastructure -- yeah, I don't remember.· I don't       15·   ·the reinvestment reserve account, it could have been
16·   ·remember.· Sorry.                                        16·   ·many, many, many years before some meaningful
17·   · · · Q.· ·Was this only a Corvias project to get the     17·   ·redevelopment would happen at base X.· This allowed
18·   ·new investment of 323 or 325 million or was it more      18·   ·for a meaningful two-year push -- plus or minus two
19·   ·than Corvias?                                            19·   ·years was the original plan.· I have been so far
20·   · · · A.· ·No, what is being referenced here, "new        20·   ·removed from it, I don't know where it ended up. I
21·   ·investment of 323," was an Army/Corvias initiative.      21·   ·think it may have been a little bit longer than two
22·   · · · Q.· ·All right.· Where did the money come from?     22·   ·years -- a meaningful push for redevelopment.
23·   · · · A.· ·The money is basically a pledge against        23·   · · · Q.· ·Did that deal require congressional
24·   ·future deposits in each one of the installation's        24·   ·approval?
25·   ·reinvestment reserve account.· And when I say "each,"    25·   · · · A.· ·I don't believe -- I don't know.· I don't


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·1·   ·recall.· It required Army approval.· Army was            ·1·   ·typical -- is typical across all of MHPI.
·2·   ·shoulder-to-shoulder through the whole process.          ·2·   · · · Q.· ·All right.· Are there any other third-party
·3·   · · · Q.· ·But you don't know whether it required         ·3·   ·inspectors that you can remember that did some
·4·   ·congressional approval or not?                           ·4·   ·inspections on Fort Bragg housing?
·5·   · · · A.· ·No, I don't.· I don't recall.                  ·5·   · · · A.· ·Not that I recall at this time.
·6·   · · · Q.· ·Okay.· We are going to go to five pages in.    ·6·   · · · Q.· ·Do you recall a company named Paragon?
·7·   · · · · · ·Okay.· Still looking at Mr. Picerne's          ·7·   · · · A.· ·I do recall a company called Paragon.
·8·   ·statement.                                               ·8·   · · · Q.· ·What do you recall about that?
·9·   · · · · · ·You are going to hear some noise.· I have      ·9·   · · · A.· ·I remember Paragon provided some assistance
10·   ·three teenage girls wandering into my house.· So if      10·   ·with some roofing work.· I don't remember if they did
11·   ·you hear something, that's what you hear.                11·   ·work beyond that.· That's what I remember at this
12·   · · · A.· ·Okay.                                          12·   ·point.
13·   · · · · · ·MR. YOO:· Good luck today, Andy.               13·   · · · Q.· ·Who hired Paragon, do you know?
14·   · · · · · ·MR. PENRY:· You know, luck is not on my side   14·   · · · A.· ·I do not -- I do not know.
15·   · · · today.                                              15·   · · · Q.· ·Do you know whether it was Corvias or
16·   ·BY MR. PENRY:                                            16·   ·someone else?
17·   · · · Q.· ·We see, "Our homes are built 100 percent in    17·   · · · A.· ·I do not know.
18·   ·compliance with federal regulations."                    18·   · · · Q.· ·How about F&R?· Do you know who hired them?
19·   · · · · · ·Do you see that?                               19·   · · · A.· ·I believe F&R was hired at the onset of the
20·   · · · A.· ·I see that.                                    20·   ·initial development period by Corvias Development.
21·   · · · Q.· ·Do you know which federal regulations are      21·   · · · Q.· ·All right.· Have you ever reviewed any of
22·   ·being referenced there?                                  22·   ·the home inspection reports prepared by Paragon?
23·   · · · A.· ·I do not know.                                 23·   · · · · · ·MR. YOO:· Objection.· Lacks foundation.
24·   · · · Q.· ·Okay.· And "with third-party inspectors."      24·   ·BY MR. PENRY:
25·   · · · · · ·Do you see that?                               25·   · · · Q.· ·Have you ever seen home inspection reports

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·1·   · · · A.· ·I see that.                                    ·1·   ·from Paragon?
·2·   · · · Q.· ·Have there been third-party inspections of     ·2·   · · · A.· ·I do not recall that.
·3·   ·the work that Corvias has done at Fort Bragg?            ·3·   · · · Q.· ·Have you ever seen home inspection reports
·4·   · · · A.· ·Yes.                                           ·4·   ·at Fort Bragg by any home inspection service?
·5·   · · · Q.· ·By whom?                                       ·5·   · · · A.· ·I do not recall.
·6·   · · · A.· ·I believe the company was F&R, was the name    ·6·   · · · Q.· ·Did Corvias hire anyone to inspect homes at
·7·   ·of the company.                                          ·7·   ·Fort Bragg?
·8·   · · · Q.· ·F&R?                                           ·8·   · · · · · ·MR. YOO:· Vague and ambiguous as to Corvias.
·9·   · · · A.· ·F&R.                                           ·9·   · · · A.· ·A Corvias entity, Corvias Development, hired
10·   · · · Q.· ·And that's Froehling & Robertson?              10·   ·in order to do the third-party code compliance
11·   · · · A.· ·Yeah.                                          11·   ·inspection.
12·   · · · Q.· ·And what did they do?                          12·   ·BY MR. PENRY:
13·   · · · A.· ·They did third-party code compliance, as I     13·   · · · Q.· ·Did Corvias Management or any other Corvias
14·   ·recall.                                                  14·   ·entity that was responsible for activities at Fort
15·   · · · Q.· ·Typically, I can tell you, because I know,     15·   ·Bragg hire an inspection to -- for mold inspections --
16·   ·F&R usually is a soils company.· Did they do something   16·   ·an inspector for mold inspections?
17·   ·other than soils work?                                   17·   · · · · · ·MR. YOO:· Overly broad.· Lacks foundation.
18·   · · · · · ·MR. YOO:· Objection.· Lacks foundation.        18·   · · · A.· ·I do not know.
19·   ·BY MR. PENRY:                                            19·   ·BY MR. PENRY:
20·   · · · Q.· ·Tell me again what they did.                   20·   · · · Q.· ·Do you know whether the United States
21·   · · · A.· ·F&R, as I recall, provided third-party code    21·   ·government, whether the Department of Defense or Army
22·   ·compliance inspections.                                  22·   ·order inspections of the houses at Fort Bragg?
23·   · · · Q.· ·Do you know why that was done by a third       23·   · · · A.· ·Inspections by who?
24·   ·party?                                                   24·   · · · Q.· ·By anyone.
25·   · · · A.· ·My understanding is that is typical, or was    25·   · · · · · ·MR. YOO:· I'm sorry.· I didn't hear.· Did


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·1·   · · · you say "order inspections"?                        ·1·   · · · Q.· ·You can answer.
·2·   · · · · · ·MR. PENRY:· Yes.                               ·2·   · · · A.· ·As far as any records or what's kept or what
·3·   · · · A.· ·The Army in this case -- yeah, the Army        ·3·   ·is available, I do not know.· My predecessor, Mr. Pete
·4·   ·did -- across all of MHPI, requested 100 percent home    ·4·   ·Sims, would probably be the best person to ask.
·5·   ·inspections.· And I believe that was sometime around     ·5·   · · · Q.· ·Who is it?· What's his name?
·6·   ·the spring of '19, plus or minus.· But that was -- I     ·6·   · · · A.· ·Pete Sims.
·7·   ·believe that was led by the United States Army.          ·7·   · · · Q.· ·And he's your predecessor in what job?
·8·   ·BY MR. PENRY:                                            ·8·   · · · A.· ·In the context of Bragg Communities.
·9·   · · · Q.· ·Was it done at Fort Bragg?                     ·9·   · · · Q.· ·All right.· Where is he now?
10·   · · · A.· ·It occurred at all Army installations.         10·   · · · · · ·MR. YOO:· I think he meant -- I think he
11·   · · · Q.· ·Do you know what entity did those              11·   · · · meant successor.
12·   ·inspections?                                             12·   · · · A.· ·I said "predecessor."· My goodness, thank
13·   · · · A.· ·What entity from the United States Army?       13·   ·you very much, guys.· I didn't eat enough of my
14·   ·No, I do not know.                                       14·   ·sandwich.· My brain is not working.
15·   · · · Q.· ·Well, did the Army do it itself or did it      15·   ·BY MR. PENRY:
16·   ·hire someone, to your knowledge?                         16·   · · · Q.· ·Tell me what Mr. Sims' job is, please.
17·   · · · A.· ·I believe the Army did it themselves.          17·   · · · A.· ·I believe his official title is managing
18·   ·That's my recollection.                                  18·   ·director for DOD partnerships.· I believe it's
19·   · · · Q.· ·Have you ever seen any results or reports      19·   ·something like that.
20·   ·relating to those inspections?                           20·   · · · Q.· ·By whom is he employed?
21·   · · · A.· ·I don't recall any specific report.· I don't   21·   · · · A.· ·I do not know.· I do not know which entity
22·   ·know if the information would have been shared at a      22·   ·employs him.
23·   ·high level, be it a conversation, if it was shared at    23·   · · · Q.· ·Do you know what his responsibilities are
24·   ·a detailed report with some formal report.· Again,       24·   ·with regard to Fort Bragg?
25·   ·that was spring of '19.· I just -- I do not recall.      25·   · · · A.· ·I do not know the details.

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·1·   · · · Q.· ·Well, did Corvias receive copies of the        ·1·   · · · Q.· ·Do you know where he lives?
·2·   ·inspections that were done at the behest of the Army?    ·2·   · · · A.· ·He lives in Utah.
·3·   · · · · · ·MR. YOO:· Vague and ambiguous as to Corvias.   ·3·   · · · Q.· ·In Utah?
·4·   · · · A.· ·Again, I'm not sure which Corvias entity you   ·4·   · · · A.· ·Utah.
·5·   ·are referring to.                                        ·5·   · · · Q.· ·Do you know where in Utah he lives?
·6·   ·BY MR. PENRY:                                            ·6·   · · · A.· ·I do not.
·7·   · · · Q.· ·Corvias Management.· Any Corvias entity that   ·7·   · · · Q.· ·Okay.· How long has he had this -- the job
·8·   ·was responsible for Fort Bragg.                          ·8·   ·he has now?
·9·   · · · A.· ·Yeah, my answer is the same.· I don't recall   ·9·   · · · A.· ·Plus or minus spring of 2020.
10·   ·if there was a formal report that was given, if there    10·   · · · Q.· ·But he is your successor, right?
11·   ·was a spreadsheet, if it was just conversations, if it   11·   · · · A.· ·"Successor" is a much better word.· Yeah,
12·   ·was, "Hey, we need you to look into these homes." I      12·   ·successor.
13·   ·just -- again, it was 2019.· I don't remember those      13·   · · · Q.· ·In other words, he took your job?
14·   ·details.                                                 14·   · · · A.· ·He did.
15·   · · · Q.· ·Do you know whether there are documents in     15·   · · · Q.· ·Okay.· All right.· Let's look at the next
16·   ·the possession of the Corvias entities that are          16·   ·page.· One more page.
17·   ·responsible for Fort Bragg relating to the inspections   17·   · · · · · ·In the second paragraph, Mr. Picerne's
18·   ·done by the Army or at its behest?                       18·   ·statement says, "We have always taken pride in being
19·   · · · A.· ·I do not know.                                 19·   ·the best at what we do.· Although we have slipped, we
20·   · · · Q.· ·Who is the person at Fort Bragg employed by    20·   ·will get back to that 'gold standard' place."
21·   ·any Corvias entity that is responsible for Fort Bragg    21·   · · · · · ·Do you see that?
22·   ·that serves as the custodian of records?                 22·   · · · A.· ·I see that.
23·   · · · · · ·MR. YOO:· Objection to the extent it calls     23·   · · · Q.· ·Do you agree with him that Corvias had
24·   · · · for a legal conclusion.                             24·   ·slipped?
25·   ·BY MR. PENRY:                                            25·   · · · A.· ·The context of this was in not 100 percent


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·1·   ·fulfilling the resident expectations as it relates to    ·1·   ·ask for details surrounding the concern.
·2·   ·communication, some of the services that I mentioned     ·2·   · · · Q.· ·You are aware that Senator Tillis did an
·3·   ·earlier that had to be reduced due to the BAH            ·3·   ·inspection of some of the homes at Fort Bragg, aren't
·4·   ·reductions.· This was really much more -- as I recall,   ·4·   ·you?
·5·   ·much more of a generic term and tying back -- it         ·5·   · · · A.· ·I'm aware that he visited several homes on a
·6·   ·really says it here in the second -- the end of that     ·6·   ·couple of occasions at Fort Bragg.· I was with him on
·7·   ·sentence to "get back to that 'gold standard.'"· So      ·7·   ·I believe it was two separate occasions.
·8·   ·it's really in that customer experience is what I        ·8·   · · · Q.· ·You were with him both times he went?
·9·   ·recall the context.                                      ·9·   · · · A.· ·I know it was once.· I remember it vividly.
10·   · · · Q.· ·So do you agree with him that "we have         10·   ·I believe it was also a second time, I believe it was.
11·   ·slipped" and "we will get back to that 'gold standard'   11·   · · · Q.· ·And do you remember Senator Tillis pointing
12·   ·place"?                                                  12·   ·out mold to you in one of the houses?
13·   · · · A.· ·Yes.· I believe that was an accurate           13·   · · · A.· ·No, I don't remember him pointing out mold
14·   ·statement at the time.                                   14·   ·in a house.
15·   · · · Q.· ·We are going to now look at some of the        15·   · · · Q.· ·Do you remember Senator Tillis pointing out
16·   ·testimony from you in Congress, and Mr. Rainey is        16·   ·to you anything in the houses relating to water
17·   ·going to upload that thing and it might take a minute,   17·   ·intrusion?
18·   ·so bear with us.· And I'll ask you some questions        18·   · · · A.· ·I do recall a spot that he pointed out in
19·   ·about it while he is loading it.                         19·   ·one house.· I believe a repair had been made or a
20·   · · · · · ·(Exhibit 5 marked for identification.)         20·   ·repair was in process.· I do recall that.
21·   · · · · · ·How did you -- how was it that you got         21·   · · · Q.· ·Did Senator Tillis express to you concern
22·   ·selected to give testimony before Congress?              22·   ·about the condition of the houses in Fort Bragg?
23·   · · · A.· ·That's a good question.· I don't know.         23·   · · · A.· ·I don't recall him specifically addressing
24·   · · · Q.· ·Who told you that you were going to give       24·   ·the concern directly to me.
25·   ·testimony before Congress?                               25·   · · · Q.· ·Do you know whether Senator Tillis expressed

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·1·   · · · A.· ·I believe it was Michael De La Rosa. I         ·1·   ·his concerns to Mr. Picerne?
·2·   ·believe that's -- yeah, that's who I reported to.        ·2·   · · · A.· ·I don't believe so.
·3·   · · · Q.· ·All right.· Do you know why Mr. De La Rosa     ·3·   · · · Q.· ·All right.· We are looking at page 79 of the
·4·   ·asked you to give testimony to Congress?                 ·4·   ·transcript, and I'll ask you this.· We talked earlier
·5·   · · · A.· ·I had -- in the role that I had at the time,   ·5·   ·about whether you had given testimony under oath, and
·6·   ·one of my responsibilities was educating members on      ·6·   ·you said you were not sworn for your congressional
·7·   ·the Hill that were tied to -- directly tied to the 13    ·7·   ·testimony, true?
·8·   ·installations that comprised the MHPI portfolio.· And    ·8·   · · · A.· ·Yes, I do not recall being under oath for
·9·   ·I don't know why I was selected.· I would assume,        ·9·   ·the testimony.
10·   ·which I shouldn't assume, that it was related to that.   10·   · · · Q.· ·But everything you said was true, wasn't it?
11·   · · · Q.· ·All right.· And you did interact with          11·   · · · A.· ·To the best of my recollection.
12·   ·elected officials in Washington, correct?                12·   · · · Q.· ·Well, can you recollect anything that you
13·   · · · A.· ·Yes, from a capacity of meeting their          13·   ·said in your testimony that was not true?
14·   ·offices and, you know, continuing to educate their       14·   · · · A.· ·No.
15·   ·offices on MHPI.                                         15·   · · · Q.· ·So I ask you again, the testimony that you
16·   · · · Q.· ·Did you interact with Senator Tillis from      16·   ·gave to the Congress of the United States of America
17·   ·North Carolina?                                          17·   ·was truthful, true?
18·   · · · A.· ·Yes.                                           18·   · · · · · ·MR. YOO:· Objection.· Asked and answered.
19·   · · · Q.· ·And tell us what interaction you had with      19·   ·BY MR. PENRY:
20·   ·Senator Tillis.                                          20·   · · · Q.· ·You can answer.
21·   · · · A.· ·I believe I had a couple of interactions in    21·   · · · A.· ·Again, that's true.
22·   ·person with Senator Tillis.· There was also              22·   · · · Q.· ·Okay.· Let's take a look at the paragraph
23·   ·interaction with staffers from his office, you know.     23·   ·that says "together with our armed service partners."
24·   ·If they ever had a question or a constituent happened    24·   · · · · · ·Do you see that?
25·   ·to reach out with a concern, they would engage me to     25·   · · · A.· ·Yes.


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